                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 ADVANTAGE WAYPOINT LLC,                                  )
                                                          )
                Plaintiff,                                )
                                                          )
         -vs-                                             )   No.: 3:17-cv-01053
                                                          )
 MICHAEL BAKER,                                           )   JUDGE: CRENSHAW
                                                          )   MAGISTRATE: BROWN
                Defendant.                                )
                                                          )   (Jury Demand Endorsed Hereon)
                                                          )
 MICHAEL BAKER,                                           )
                                                          )
                Counter-Plaintiff                         )
                                                          )
        -vs-                                              )
                                                          )
 ADVANTAGE WAYPOINT, LLC                                  )
                                                          )
                Counter-Defendant                         )
                                                          )
                                                          )
 MICHAEL BAKER,                                           )
                                                          )
                Third-Party Plaintiff                     )
                                                          )
         -vs-                                             )
                                                          )
 DON DAVIS                                                )
                                                          )
                Third-Party Defendant                     )


                  JOINT MOTION FOR DISMISSAL WITH PREJUDICE
                   AND FOR THE COURT TO RETAIN JURISDICTION

       Pursuant to Federal Rule of Civil Procedure 41, all parties to this action, through their

respective undersigned counsel, jointly move for dismissal of all claims and counterclaims asserted

in this case with prejudice. In support of thereof, the parties stipulate as follows:



                                     1
   Case 3:17-cv-01053 Document 83 Filed 05/18/18 Page 1 of 4 PageID #: 2207
       1.        On January 23, 2018, the Court entered a Preliminary Injunction Order (Doc. No.

79).

       2.        On April 3, 2018, the Court entered an Amended Preliminary Injunction Order.

(Doc. No. 82).

       3.        On April 30, 2018, the parties also entered into a Confidential Settlement

Agreement, memorializing the settlement terms and agreeing to fully resolve the claims and

counterclaims in this lawsuit.

       4.        A provision of the Confidential Settlement Agreement is that this Court retain

jurisdiction to enforce the Agreement between the parties, and over any matters or actions brought

to enforce the Confidential Settlement Agreement.

       WHEREFORE, based upon the foregoing, the parties respectfully request that the entire

above-captioned action be dismissed with prejudice, each party to bear his/its own costs and fees.

The parties further request that this Court retain jurisdiction to enforce the provisions of the

Agreement.

       Dated this 19th day of May 2018.

                                                    Respectfully submitted,


                                                    s/ J. Britt Phillips
                                                    J. BRITT PHILLIPS, #20937
                                                    CHRISTOPHER J. SCHROECK, #31875
                                                    Sutter O’Connell Co.
                                                    341 Cool Springs Blvd Suite 430
                                                    Franklin, TN 37067

                                                    MICHAEL S. ADLER, pro hac vice
                                                    Tantalo & Adler LLP
                                                    1801 Century Park East, Suite 2400
                                                    Los Angeles, CA 90067

                                                    Counsel for Michael Baker



                                     2
   Case 3:17-cv-01053 Document 83 Filed 05/18/18 Page 2 of 4 PageID #: 2208
                                      s/ William S. Rutchow
                                      William S. Rutchow, TN # 017183
                                      Luther Wright, Jr., TN # 017626
                                      Ogletree, Deakins, Nash, Smoak &
                                      Stewart, PC
                                      401 Commerce Street Suite 1200
                                      Nashville TN 37219

                                      Bradford Newman
                                      Paul Hastings LLP
                                      1117 S. California Avenue
                                      Palo Alto, CA 94304

                                      Elena Baca
                                      Paul Hastings LLP
                                      515 South Flower Street
                                      Twenty-Fifth Floor
                                      Los Angeles, CA 90071

                                      Justin M. Scott
                                      Paul Hastings LLP
                                      101 California Street, 48th Floor
                                      San Francisco CA 94111

                                      Counsel for Plaintiff and Third Party
                                      Defendant




                                  3
Case 3:17-cv-01053 Document 83 Filed 05/18/18 Page 3 of 4 PageID #: 2209
                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 18, 2018, a copy of the Joint Motion for Dismissal was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
to all parties indicated on the electronic filing receipt. All other parties will be served by regular
U.S. Mail. Parties may access this filing through the Court’s electronic filing system:

J. Britt Phillips
Christopher J. Schroeck
Sutter O’Connell Co.
341 Cool Springs Blvd., Suite 430
Franklin, TN 37067

Michael S. Adler, pro hac
Tantalo & Adler LLP
1801 Century Park East, Suite 2400
Los Angeles, CA 90067
(310) 734-8695
e-mail: madler@ta-llp.com



                                                s/William S. Rutchow



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                                     4
   Case 3:17-cv-01053 Document 83 Filed 05/18/18 Page 4 of 4 PageID #: 2210
